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Case 1:18-bk-12919-MT Doc 78 Filed 06/16/22 Entered 06/16/22 14:49:54 Desc
Main Document Pageiof5

David K. Gottlieb

16255 Ventura Blvd, Suite 440
Encino, CA 91436

Telephone: (818) 539-7720
Email: dkgtrustee@dkgalle.com

Chapter 7 Trustee
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
SAN FERNANDO VALLEY DIVISION

In re: Case No. 18-12919 MT

Chapter 7
CORPORATION, JEFFREY STEINBERG M.D., A
MEDI NOTICE OF UNCLAIMED DIVIDEND(S)

(FRBP 3011)

Debtor(s)

TO THE CLERK OF THE UNITED STATES BANKRUPTCY COURT:

Please find annexed hereto Check No. 60016 in the sum of $14,211.60 representing

the total amount of unclaimed dividend(s) in the above-entitled debtor's estate which will create a zero
balance in the bank account. Said sum is paid over to you pursuant to Bankruptcy Rule 3011. A list
of the name(s), address(es) and amount(s) to be paid to each person entitled to said unclaimed

dividend is attached.

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“David K. Gottlieb =
Chaps 7 True

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Case 1:18-bk-12919-MT Doc 78 Filed 06/16/22 Entered 06/16/22 14:49:54 Desc

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Main Document Page 2of5

CREDITOR AMOUNT
Alyse Houlemard Mencias c/o Sarah Schlehr $14,211.60
303 North Glenoaks Boulevard

Suite 200

Burbank, CA 91502

Total: $14,211.60
‘Case 1:18-bk-12919-MT Doc 78 Filed 06/16/22 - Entered 06/16/22 14:49:54 Desc . 0016.

~ SIGNATURE BANK ‘:
L NEWYORK, waco? | . Main Document _ _ Page 3 of 5 . we Ee: 457 126

AVID.K GOTTLIEB, CHAPTER 7 TRUSTEE

* 46266: VENTURA BLVD, SUITE 440 Sy oo OID AFT R90 DAYS.
“ENCINO, CA 91436 VOIB AFTER : neg
REGARDING

JEFFREY STEINBERG: MD., A MEDICAL CORPORATION, (DEBTOR (16-12840 MT) DATE: oe/t6r2022

ACCOUNT: NO. 1504108909

pee, ,212. 61 |

FOURTEEN THOUSAND TWO HUNDRED ELEVEN DOLLARS AND 60/100

Paytothe U.S. BANKRUPTCY COURT
Order Of = ATTN: FISCAL DEPT. _
255 E. TEMPLE ST., ROOM 1067
LOS ANGELES, CA $0012

BAVID kK GOTTLIBG’ CHAPTER 7 TRUSTEE

WOBDOIES

[Pate 0 06/16/2022 Check Number: 60016 Amount: $14,211.60
~ Gase:-Number: 18-12919 oe .
Debtor(s) Name: JEFFREY STEINBERG M.D., A MEDICAL CORPORATION

: Paid To: U.S. BANKRUPTCY. COURT ‘| Trustee: DAVID K. GOTTLIEB, CHAPTER 7 TRUST EE: ote
ATTN: FISCAL DEPT. 16255 VENTURA BLVD, SUITE 440.
255 E. TEMPLE ST., ROOM 1067 ENCINO, CA 91436
LOS ANGELES, CA 90012

Description:

Bank Account:

S Date e/15/2022 | Check Number: 60016 Amount: $14,211.60 ss

Case Number: 18-12919
_ Debtor(s) Name: JEFFREY STEINBERG M. D., A MEDICAL CORPORATION

Paid To: U.S. BANKRUPTCY COURT ‘Trustee: DAVID K, GOTTLIEB, CHAPTER 7 TRUSTEE te
ATTN: FISCAL DEPT. 16255 VENTURA BLVD, SUITE 440.
255 E. TEMPLE ST.,. ROOM 1067 ENCINO, CA 91436

LOS ANGELES, CA 90012

Description:

Bank Account: -

Case 1:18-bk-12919-MT Doc 78 Filed 06/16/22 Entered 06/16/22 14:49:54 Desc
Main Document Page 4of5

PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 16255
Ventura Boulevard, Suite 440, Encino, CA 91436.

A true and correct copy of the foregoing document entitled (specify): _Report of Trustee Under Rule 3011 _will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner

stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General

Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On June 16,
2022 | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

& Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On June 16, 2022, | served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

BJ Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on _ Lserved the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

C Service information continued on attached page.

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

June 16, 2022 Renee Johnson /s/Renee Johnson
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

F 9013-3.1.PROOF.SERVICE

June 2012
Case 1:18-bk-12919-MT Doc 78 Filed 06/16/22 Entered 06/16/22 14:49:54 Desc
Main Document Page5of5

ADDITIONAL SERVICE INFORMATION (if needed):

1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

Joseph Chora joseph@chorayoungllp.com, CChora@choralaw.com
David Keith Gottlieb (TR) | dkgtrustee@dkgalic.com,
dgottlieb@iq7technology.com,rjohnson@dkgallc.com,akuras@dkgallc.com;ecf.alert+Gottlieb@titlexi.com
David S Hagen davidhagenlaw@gmail.com
D Edward Hays ehays@marshackhays.com,
ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.court
drive.com

e LailaMasud Imasud@marshackhays.com, Imasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

e United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

2. SERVED BY U.S. MAIL

Office of the U.S. Trustee
915 Wilshire Blvd., Ste. 1850
Lod Angeles, CA 91007

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
